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                           IN THE UNITED STATES DISTRICT
                         COURT FOR THE NORTHERN DISTRICT
                            OF ILLINOIS EASTERN DIVISION

                                                   MDL No. 2545
    IN RE: TESTOSTERONE
    REPLACEMENT                                    Master Docket Case No. 1:14-cv-01748
    THERAPY PRODUCTS LIABILITY
    LITIGATION                                     Honorable Matthew F. Kennelly

    THIS DOCUMENT RELATES TO:
    ALL ACTIONS

                                      NOTICE OF FILING

TO: All counsel of record

        PLEASE TAKE NOTICE that Maury A. Herman on December 6, 2018 filed his

Response to Motion of Stephanie O’Connor to Expand the Common Benefit Committee and for

the Appointment of Stephanie O’Connor to the Common Benefit Fee Committee.              Unless the

Court deems it necessary, counsel does not feel it necessary to have a hearing with respect to said

Response. If the Court deems a hearing necessary, counsel will be available to be heard at a date

and time set by the Court and shall appear before the Honorable Judge Matthew F. Kennelly or

any judge sitting in his stead in Courtroom 2103 of the United States District Court of the Norther

District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois.

Dated: December 6, 2018                       Respectfully submitted,

                                              HERMAN HERMAN & KATZ, L.L.C.

                                              /s/ Maury A. Herman
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2018, I electronically transmitted the foregoing

document to the Clerk of the United States District Court using the CM/ECF system for filing and

service to all parties/counsel registered to receive copies in this case.

                                                        /s/ Maury A. Herman
                                                        MAURY A. HERMAN




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